 Case 4:18-cv-00824-O Document 120 Filed 11/10/21               Page 1 of 2 PageID 1975



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 BEAR CREEK BIBLE CHURCH et al.,

       Plaintiffs,

 v.
                                                        Civil Action No. 4:18-CV-824-O
 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION et al.,

       Defendants.


                     DEFENDANTS’ MOTION FOR RECONSIDERATION

      For the reasons stated in the accompanying brief, Defendants respectfully request that the

Court reconsider its October 31, 2021, Memorandum Opinion and Order, ECF No. 118.

Dated: November 10, 2021                        Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Acting Assistant Attorney General
                                                Civil Division

                                                CARLOTTA WELLS
                                                Assistant Branch Director
                                                Civil Division, Federal Programs Branch


                                                BENJAMIN T. TAKEMOTO
                                                (DC Bar # 1045253)
                                                MICHAEL F. KNAPP
                                                (CA Bar. # 314104)
                                                Trial Attorneys
                                                United States Department of Justice
                                                Civil Division, Federal Programs Branch
                                                P.O. Box No. 883, Ben Franklin Station
                                                Washington, DC 20044
                                                Phone: (202) 532-4252
                                                Fax: (202) 616-8460
                                                E-mail: benjamin.takemoto@usdoj.gov
 Case 4:18-cv-00824-O Document 120 Filed 11/10/21                    Page 2 of 2 PageID 1976




                                                      Attorneys for Defendants

                              CERTIFICATE OF CONFERENCE

       On November 9, 2021, Jonathan F. Mitchell and I conferred regarding this Motion. Mr.

Mitchell requested that I state the following: “I have conferred with Jonathan F. Mitchell, counsel

for the plaintiffs, and he informed me that the plaintiffs are unopposed to this motion to the extent

it brings the transcription error to the Court’s attention and asks the Court to remove the concession

that was mistakenly attributed to Mr. Takemoto. The plaintiffs, however, believe that the Court’s

conclusion that the United States waived sovereign immunity under section 702 remains sound,

and would oppose any request to alter the conclusion that the Court reached.”


                                                      BENJAMIN T. TAKEMOTO


                                 CERTIFICATE OF SERVICE

       On November 10, 2021, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2) or the local rules.


                                                      BENJAMIN T. TAKEMOTO




                                                  2
